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                      In the United States District Court
                      For the Southern District of Texas
                              Houston Division

Frederic N. Eshelman;

                                 Plaintiff,

       v.                                     Civil Case No. 4:20-cv-04034

True the Vote, Inc., et al.;                  JUDGE CHARLES ESKRIDGE, III

                               Defendants.




  Declaration of Catherine Engelbrecht in Support of Defendants’
    Responses in Opposition to Plaintiff’s Verified Emergency
   Application for Temporary Restraining Order and Verified
   Motion for Preliminary Injunction and Exhibits 1-7 Thereto
    Case 4:20-cv-04034 Document 48-1 Filed on 01/21/21 in TXSD Page 2 of 129




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                          UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

Fredric N. Eshelman;
                                    Plaintiff,
      v.                                         Civil Case No. 4:20-cv-04034

True the Vote, Inc., et al.;                 Declaration of Catherine Engelbrecht in
                                 Defendants. Opposition to Plaintiff’s Application for
                                             Temporary Restraining Order and Motion
                                             for Preliminary Injunction

                             Declaration of Catherine Engelbrecht

            I, Catherine Engelbrecht, make the following declaration pursuant to 28 U.S.C. §

1746:

1.         I am the President of True the Vote, Inc. (“TTV”) and, except where noted

otherwise, I have personal knowledge of the facts presented herein.

2.         I am offering this declaration in support of Defendants’ opposition to Plaintiff’s

application for temporary restraining order and motion for preliminary injunction in the

above-captioned matter.

3.         TTV has been working for election integrity since 2009. The organization is now a

501c(3) organization, whose mission and purpose is to promote security and integrity of

the voting process. The organization operates entirely and exclusively on the contributions

of its donors. Before a donor contributes, I often discuss with them the current and

proposed activities and projects of TTV. If a donor had wanted to impose conditions on a
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gift, I always expected that the donor would make that explicit and I would have had to

agree to the conditions attached to the prospective gift.

4.       TTV has become a nationwide resource for information and training aimed at

educating citizens, ensuring the accuracy of voter rolls and voting on election days,

providing research and support for litigation and legislative reforms in keeping with our

mission. Among the ways to protect the voting process from ineligible votes, it is important

to identify both the process failures, along with conscious efforts, that sometimes subvert

the legal process of registering and administering the election process.

5.       As part of its efforts in the 2020 general election, TTV created and implemented a

means by which people could report voting irregularities and fraud. We called this an

“Election Integrity Hotline”, which was launched in early October 2020 and staffed with a

trained support team, ready for the taking of calls and online reports, 24 hours a day. In

addition to these efforts, TTV also made efforts on various social media sites and platforms

to encourage those with information about voting problems to come forward.

6.       TTV received thousands of responses from these efforts across many states. All of

the responses had to be vetted and examined in terms of veracity and a determination if the

information was an indicator of a need for further review. Some of the people responding

were integrated into broad scale systems, particularly with respect to vote harvesting, that

made their coming forward what is referred to by us as a “whistleblower.” With the vetted

and qualified information in hand from these efforts, TTV worked, and continues to work

still, with a broad array of researchers, investigators, law enforcement and other




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government authorities to help build comprehensive cases of identified improprieties

relating to the election process.

7.       Following the national election on November 3, 2020, there arose many questions

about the manner in which many of the states went about the electoral process, specifically

in the counting of votes, and whether or not the apparent and declared winner of these

elections truly had the most valid votes. In order to make this determination, and in concert

with concerned citizens in four different states willing to participate as party plaintiffs,

TTV attorneys filed lawsuits to acquire the basic, but critical, data from election officials

so as to compare the voters with voter rolls, using sophisticated data analysis techniques to

identify the potential for election improprieties and ineligible voters.

8.         TTV hired a private company, OpSec, LLC (“OpSec”) owned and operated by

Gregg Phillips, a co-defendant in this litigation. I have known Mr. Phillips for many years,

and work with him in a separate, completely unrelated for-profit software company related

to real-time identification of healthcare coverage and prevention of waste, fraud, and abuse

in healthcare-related government programs. TTV worked with OpSec throughout 2020 on

a variety of projects involving data collection, investigation and research, analytics, media

production, and software development. They were specifically tasked with overseeing

research related to litigation and challenges, and the development and support of the

“Election Integrity Hotline,” with extensive responsibility for the arduous task of vetting

the information received. That requires interviewing witnesses, examining documents, and

uncovering supporting evidence sufficient to open investigations, secure indictments, and

support litigation, as necessary . OpSec assembled teams of data miners, analysts,

investigators, and subject matter experts. In Texas, Georgia, Pennsylvania, Nevada,

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Arizona, Michigan, and Wisconsin, TTV, through OpSec, supported “whistleblower”

investigations and implemented a variety of complex regression analyses using public and

commercially sourced data to determine whether or not voters were truly eligible based on

their residency, identity and other factors, as appropriate on a state-specific basis.

9.        At the same time, and as part of the overall efforts of True the Vote, we worked to

coordinate volunteers and other interested people to gather information and garner support

in key states. In Michigan, Wisconsin, Pennsylvania, Georgia, Arizona, and Texas, we

identified and shared some of our information and data conclusions with public officials

interested in ensuring voting integrity in the 2020 general and future elections. In the hours

and days immediately after the November 3 election, there was constant activity across

these and other states, all of which was designed to get answers to whether or not there was

evidence of voter fraud or any other improper activity surrounding the election.

10.       Some time during the morning of November 5, 2020, I was alerted that Dikran

Yacoubian had called TTV’s main line and left a message indicating he represented a

donor interested in making a major donation. I phoned him, and he explained that he’d first

heard of TTV through a mutual acquaintance, that he had long been interested in somehow

working together, and importantly that he wanted to introduce a “major donor” prepared to

make a $500,000 donation.

11.       Mr. Yacoubian then asked me to speak to a man he described as his partner, Tom

Crawford. Minutes later, the three of us were speaking together and I explained True the

Vote’s work and projects that were then in operation and, in particular, our election

integrity whistleblower hotline. Mr. Crawford said that the donor they represented was




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interested in “getting involved”. He asked me to stay on the line while he conferenced in

Fred Eshelman.

12.       Within minutes, I was on the phone with Mr. Yacoubian Mr. Crawford, and Mr.

Eshelman. This November 5th phone call was the first time I had ever had a conversation

with Mr. Eshelman. I was asked to describe our mission and current activities to Mr.

Eshelman, which of course I did in some detail. In particular, Mr. Eshelman was interested

in the “election integrity hotline” and the opportunity to identify whistleblowers and others

with information about possible election improprieties. After the four-way conversation

that did not seem to take more than 20 minutes and answering relatively basic, minimal

questions, Mr. Eshelman said “I’m in for 2.” Mr. Crawford questioned “$200,000?”, and

Mr. Eshelman responded “$2 million”. He said he believed we needed to scale our efforts

as quickly as possible. He also said that he would attempt to find other large donors such as

himself to likewise support our efforts with funding. The conversation ended with

instructions that Mr. Crawford and Mr. Yacoubian were to get wiring information. I

received a subsequent text from Mr. Yacoubian asking for wiring instructions, and

responded with that information, also via text. Within a matter of a few hours, Eshelman’s

$2 million gift was in our bank account.

13.       In a follow-up call with Mr. Crawford, he said that when [Eshelman] goes, he goes

big, and that this could be just the beginning, that our operation was fundable and

expandable. He recommended that TTV should think of the $2 million in two tranches,

with $1 million for “whistleblower” program resources and $1 million for general

operations.




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14.       Mr. Crawford also told me that Mr. Eshelman was asking for some written

documentation that could be used to show others about the True the Vote’s operation so as

to entice them to contribute as well. With this request, later that day I drafted and produced

to Mr. Crawford a one-page document entitled “Validate the Vote 2020”, a name Mr.

Crawford had suggested after the phone call with Eshelman, which outlined our very broad

plans, and which identified a total budget of $7.5 million for the entire operation, including

litigation, which had not been discussed on the earlier four-way phone call. Most of the

one-page document was based on a litigation proposal I received from our General

Counsel, James Bopp, Jr., several hours after the Eshelman call and I was not aware of his

ideas for litigation until after the Eshelman call.

15.       Of course, during the call with Eshelman, I had outlined our then current

operations and discussed some of the additional ideas we had, but there was never any

discussion of a “Validate the Vote” program, since the name itself did not even exist then,

or the details of what became known later as the “Validate the Vote” project, since no

details of such a project had been formulated by the time of the call.

16.       Furthermore, there was no discussion or suggestion of any sort between Mr.

Eshelman and myself, or his agents Mr. Crawford and Mr. Yacoubian and myself, that

Eshelman’s gift was conditional in any way. And Mr. Eshelman did not suggest that if we

were not able to accomplish our goals, he would expect to get his donation returned to him.

I never agreed to cede any control or direction of our operations, or to offer him a decision

making role in how we would perform our activities. Likewise, Mr. Eshelman never asked

for such control. Simply put, following a short telephone conversation with me, Mr.

Eshelman contributed $2 million to our organization, for which he is entitled to a charitable


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deduction like all of our contributors. Likewise, there was no communication, written or

oral, where any limitation or condition was imposed on his contribution, or even discussed,

or that if we did not do certain things, or certain things to his liking, or even if we failed to

move on some of the goals which we had broadly discussed, he would be entitled to a

return of his funds. It was not until after I spoke with Mr. Eshelman about an invoice TTV

had received from Old Town Digital Agency for $1,000,000, which I was concerned about

paying, that our relationship took a very negative turn, within a few days leading to his

becoming extremely angry with us and demanding all or whatever of his money we still

had, stating that his gift was conditional on carrying out the Validate the Vote project and

that he was entitled to his money back since TTV had not carried out the project to his

liking.

17.       Following the delivery of the gift, we continued with our efforts. The influx of

money from Mr. Eshelman permitted us to scale up our operations significantly. Through

OpSec, we were able to expand our hotline, as well as our investigations. On our behalf,

OpSec contracted and managed teams of data miners and analysts. They made significant

purchases of data and other supporting infrastructure including server set-ups, database

designs, and security, all of which we needed to efficiently and securely track individual

voters to determine their residency and therefore their ability to legally vote. We traveled to

various locations to interview whistleblowers. We paid for security for whistleblowers

whose personal safety was affected by their willingness to cooperate. One of our

whistleblowers was severely beaten and hospitalized following his interview with us. He

was provided with 24x7 security and his family was provided with financial support.




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18.     We coordinated with individual voters to commence legal action. Mr. Bopp led

our legal efforts to file lawsuits in order to compel the delivery of voting information for

our analysis to determine how many illegal and improper votes were being counted in the

elections in the battleground states. However we were forced to dismiss those cases

because they did not prove effective at getting the necessary information and we were able

to get it through other means. All of these activities were being accomplished by The Bopp

Law Firms’ legal teams; OpSec’s data, investigation, and development teams; along with

our team of people and those whom we hired—everyone working 20 hour days and

stretching in every way feasible.

19.     Early on November 13, 2020, we learned from Mr. Crawford that we were to

receive an additional $500,000 from Mr. Eshelman. I had not talked to Mr. Eshelman about

this so I can only assume that these funds were sent as the result of a call I had with Mr.

Crawford, when I commented that we were going to be spending hundreds of thousands of

dollars on data. I told him that the data requirements were needed to support the very active

legal efforts led by Mr. Bopp in Pennsylvania, Michigan, Wisconsin and Georgia. The

money arrived later in the day. Like the first contribution, no one told me that this gift was

conditional in any way, was subject to control or direction by Mr. Eshelman, or was subject

to retrieval if it was not spent in a manner satisfactory to Mr. Eshelman.

20.     Later that same day, November 13th, I received an invoice from “Old Town

Digital Agency” (“Old Town”) for $1,000,000. The invoice had a single line reflecting

what the million dollars was to pay for: “Digital Media Creation and Distribution,

Communication Team and Support Staff, Strategic Consulting Partners.” I was shocked to

receive this invoice. In fact, I had only heard of Old Town once in passing from Mr.


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Crawford as being the media company “they use”. We had no contracts with them, nor had

they done any work for us. I learned later that Dikran Yacoubian worked for Old Town. I

am not certain of Tom Crawford’s relationship to Old Town, but he had previously been

described by Mr. Yacoubian as his partner. I can attest that Mr. Yacoubian began

contacting me within hours of Old Town sending the invoice, asking when I could wire the

money so that he could “let Tom know”. I was not aware of anything that either of these

men had done to further our goals, other than of course making the introduction to Mr.

Eshelman. I did not know of any digital media creation or distribution, and I had no idea

who or what the communication team and support staff for strategic consulting partners

was all about, and how or why True the Vote would ever pay this group a million dollars. I

later learned that this company, Old Town Digital Agency, was essentially a shell

company, which was not registered in the state of Virginia where we were to send the

money, and found it strange that a company specializing in digital media did not have so

much as a web site.

21.     Having learned that the invoice was sent by the same people who had introduced

Mr. Eshelman to us, and who had been our go between for giving Mr. Eshelman updates on

what successes we were enjoying in our efforts, I knew I should call Mr. Eshelman to

explain this perplexing situation about the Old Town invoice. I explained in the call the

invoice and simultaneously explained I was aware of no work or value from this group to

merit any payment. He agreed that we should not “just pay” the invoice. He said that he

would talk to Mr. Crawford about it.

22.     After my conversation with Mr. Eshelman, I received a call from Mr. Crawford

where he angrily asked me why I was calling Mr. Eshelman to question their invoice. After

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that, all communications with Mr. Crawford were strained. I know that he was criticizing

our activities to Mr. Eshelman, even though he did little to nothing to contribute to our

efforts. By November 15, 2020, I received an email from Mr. Eshelman which implied that

he had been told that I was withholding both data and whistleblower information from not

only Mr. Crawford and himself, but also from my lawyer Jim Bopp and Senator Lindsay

Graham. This suggestion was just flat wrong and unfounded. Yet, he asked that I turn over

information to Mr. Crawford so that he could handle media communication relating to it.

Having lost confidence and any trust in Mr. Crawford, I knew that I would be foolish to

hand over communication and media responsibilities to him, particularly with the need to

keep much of our gathered information confidential, protecting witnesses and using the

information at the right time for its most effective use.

23.     Mr. Eshelman asked for an update about all of the progress that we were making,

and we accommodated him on November 16, 2020, in the afternoon. During that call, we

explained much of the great progress made in a short period of time with regard to the

ongoing whistleblower investigations and getting other data together for our continued

research efforts, but also explained the decision of Mr. Bopp to dismiss the lawsuits that he

had filed. Mr. Eshelman was infuriated, literally cursed me and hung up the phone.

Thereafter, he demanded a return of the “balance” of his contributions. This lawsuit

followed.

24.     We have also done extensive election integrity work related to the Georgia runoff

election. We helped voter challenges of over 364,000 people in Georgia whose current

residence made them potentially ineligible to vote in the runoff election—tens of

thousands of which we know voted in the November election. We are now in the process of


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evaluating if these people voted in the Georgia Senate runoffs. In the meantime, we have

been sued by, and have countersued, a progressive group in Georgia for our election

integrity efforts in Georgia known as “Fair Fight”, the Stacy Abrams group. Our counter

claims fight back against Fair Fights’ efforts to deny citizens’ the right to petition their

government, preserve free speech, and ensure election integrity.

25.     I have now been told that Mr. Eshelman now claims that the conditions he imposed

on his gift did not include doing election integrity work related to the Georgia runoff

election. I was never informed by Mr. Eshelman of such a condition, orally or in writing,

and believe that that work is well within the goals and purposes of TTV and its Validate the

Vote project.

26.     The true irony of this lawsuit is that True the Vote did everything that it could and

sought to achieve all of the goals mentioned in the first conversation with Mr. Eshelman.

We established the “reward fund” that he wanted and continued our hotline to gather

whistleblower testimony. As a result, our efforts have led to indictments of people in

Arizona, and others are in the works. We obtained publicity so as to alert the public about

many of the irregularities in the voting process. We have helped state legislatures with

information and advice, as well as data and testimonies to help them do their duties relative

to the voting issues before them. We continue to gather and analyze data to identify

patterns of election subversion. We filed lawsuits to help the process along the way. It is

unfortunate that we did not have sufficient time to better identify the voting irregularities to

protect our elections in 2020. However, our work continues, stronger than ever, in 2021.

27.     The donation received from Mr. Eshelman went into our regular bank account,

along with all other donations. We have a donor base of over 7500 people, over the

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years. Some of our contributors have given as little as two dollars. The money that Mr.

Eshelman contributed was not in any way separated from the regular account because there

was no request for that, and from my perspective no need to segregate those funds. If we

were forced to either return the contribution or temporarily freeze our account, we would

be forced to cease all operations, disappointing all of the various supporters of our

organization.

28.     Submitted with my Declaration are Exhibits 1 through 7. I can vouch for the fact

that most of the pages in these Exhibits were provided Mr. Eshelman’s attorneys as a result

of a discovery request by my lawyer and are identified by Bates numbers Eshelman

00001-00260. I can also vouch for the authenticity of all of the other pages in the Exhibits

as communications I received, or web pages that were accurately copied.




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       I affirm under penalty of perjury that the foregoing is true and correct. Executed on this   Z f
 day of January,202L.




                                                                     Catherine




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Decl. of Catherine Engelbrecht
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                        Exhibit 1
                           to
     Declaration of Defendant Catherine Engelbrecht

“Eshelman’s Responses to True the Vote, Inc.’s Expedited
                     Discovery”
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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION


FREDRIC N. ESHELMAN,

       Plaintiff,

v.
                                            Case No. 4:20-cv-04034
TRUE THE VOTE, INC., CATHERINE
                                            JURY DEMANDED
ENGELBRECHT, GREGG PHILLIPS, OPSEC
GROUP, LLC, JAMES BOPP, JR., AND THE
BOPP LAW FIRM,

       Defendants.

            PLAINTIFF’S RESPONSES TO TRUE THE VOTE, INC.’S
                         EXPEDITED DISCOVERY


TO:   True the Vote, Inc., by and through its attorney of record, Brock Akers, The Akers
      Firm PLLC, 3401 Allen Parkway, Suite 101, Houston, TX 77019


      Plaintiff, Frederic N. Eshelman, responds to Defendant True the Vote, Inc.’s

Expedited Discovery as shown on the following pages.

                                        Respectfully,
                                        /s/ Douglas A. Daniels
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                                        State Bar No. 00793579
                                        Southern District I.D. Number 19347
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OF COUNSEL:
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                                 Exhibit 1, page 1
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                            CERTIFICATE OF SERVICE

      I hereby certify that on the 7th day of January 2021, a true and correct copy of the
above foregoing document has been forwarded to all counsel of record via email:

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                                  Exhibit 1, page 2
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                            Exhibit 1, page 3
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   Plaintiff’s Responses and Objections to Defendant’s Expedited Interrogatories



Interrogatory No. 1

       Explain the basis for Plaintiff’s allegation that the Eshelman Donations were given

to True the Vote, Inc. as a “conditional gift”, when, how and to whom the conditional

nature of the “conditional gift” was expressed and established by Plaintiff?

Response:

       Plaintiff objects to Interrogatory No. 1 to the extent it contains a compound question

including three distinct subparts. Plaintiff will respond to the interrogatory, but will treat it

as three separate interrogatories for purposes of any limitations on the number of

interrogatories set forth at Fed. R. Civ. P 33(a)(1) or in any other discovery order entered

by the Court.

       Without waiver to those objections, Plaintiff states as follows: Plaintiff gave two

separate conditional gifts to Defendant True the Vote, Inc. On November 5, 2020, Plaintiff

conditionally gave Defendant True the Vote an initial gift of $2 million by wire transfer to

True the Vote’s Wells Fargo bank account. Mr. Eshelman gave his initial gift of $2 million

on the condition that it would be used to support the Defendants’ so-called “Validate the

Vote 2020” efforts. Specifically, Defendant Engelbrecht explained to Plaintiff that she,

Defendant Phillips, Defendant Bopp, and Defendant True the Vote had developed a multi-

pronged plan (referred to as Defendant True the Vote’s Validate the Vote 2020 initiative)

to investigate, litigate, and expose suspected illegal balloting and fraud in the 2020 general



                                     Exhibit 1, page 4
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election. As part of their Validate the Vote 2020 plan, Defendant Engelbrecht explained to

Plaintiff that Defendants intended to: (1) solicit whistleblower testimonies from those

impacted by or involved in election fraud; (2) build public momentum through broad

publicity of those whistleblowers’ stories; (3) galvanize Republican legislative support for

voter fraud challenges in key states; (4) aggregate and analyze data to identify patterns of

election subversion; and (5) file lawsuits in federal court with capacity to be heard by the

Supreme Court of the United States. Those efforts were described in detail in marketing

materials prepared by Defendant True the Vote. See Amended Compl. and Ex. 1 attached

thereto. Those materials also listed Defendants Engelbrecht, Phillips, Bopp, OPSEC, and

the Bopp Law Firm as partners in the effort. Id. In reliance upon Defendant Engelbrecht’s

representations on November 4 and November 5 regarding Defendants’ comprehensive

plans to investigate, litigate, and publicize illegal balloting and other election fraud in

connection with the 2020 general election, Plaintiff expressed to Defendant Engelbrecht

that he would give $2 million to Defendant True the Vote on the condition that those funds

would be used specifically to support the initial stages of the Validate the Vote 2020 efforts.

Of the $2 million, Plaintiff further expressed to Ms. Engelbrecht that $1 million was to be

used specifically to fund efforts to communicate Defendants’ findings via the contemplated

litigation. The conditional gift was agreed to between Plaintiff and Defendant Engelbrecht

via telephone calls occurring on November 4 and November 5, 2020.

       Plaintiff gave a second conditional gift of $500,000 to Defendant True the Vote on

November 10, 2020. Like the first, the gift was made by wire transfer to True the Vote’s




                                    Exhibit 1, page 5
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Wells Fargo bank account. Plaintiff agreed to make this gift on the express condition that

it would be used to fund legal expenses related to the Validate the Vote 2020 initiative in

excess of the amounts indicated on the initial budget Plaintiff had discussed with

Defendants Engelbrecht and Bopp (and reflected on Defendant True the Vote’s marketing

materials). Plaintiff made that second conditional gift at Defendant Engelbrecht’s express

request for additional funds for the specific purpose of covering legal expenses incurred in

connection with Defendants’ efforts to investigate, litigate, and publicize illegal balloting

and other election fraud in connection with the 2020 general election. The conditional gift

was agreed to between Plaintiff and Defendant Engelbrecht via teleconference on

November 13, 2020.

Interrogatory No. 2

       What are the precise terms and conditions of Plaintiff’s “conditional gift,” as alleged

in Plaintiff’s answer to Interrogatory No. 1?

Response:

       As set forth above, Plaintiff’s conditional gifts totaling $2.5 million were

conditioned on Defendant True the Vote’s agreement to use those funds to support

Defendants’ Validate the Vote 2020 efforts to investigate, litigate, and publicize illegal

balloting and other election fraud in connection with the 2020 general election.

Specifically, those efforts were laid out in detail in solicitation materials prepared by

Defendant True the Vote and circulated by Defendant Engelbrecht. See Amended Compl.

and Ex. 1 attached thereto. Both Plaintiff and Defendant Engelbrecht (on behalf of



                                    Exhibit 1, page 6
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Defendant True the Vote) understood that use of the conditionally gifted funds for other

purposes would amount to a breach of the conditions Plaintiff placed upon his gifts and

would entitle Plaintiff to a full refund of any funds not already used for the agreed-upon

activities.

Interrogatory No. 3

       When, how, and to whom did TTV allegedly communicate its understanding of

and assent to the precise terms and conditions of the “conditional gift,” as alleged in

Plaintiff’s answer to Interrogatory Nos. 2 and 3?

Response:

       Plaintiff objects to Interrogatory No. 3 to the extent it is illogical as written. For

purposes of this response, Plaintiff assumes Defendant True the Vote intended the

interrogatory to read “When, how, and to whom did TTV allegedly communicate its

understanding of and assent to the precise terms and conditions of the ‘conditional gift,’ as

alleged in Plaintiff’s answer to Interrogatory Nos. [1] and [2].” Plaintiff further objects to

Interrogatory No. 3 to the extent it contains a compound question including three distinct

subparts. Plaintiff will respond to Interrogatory No. 3, but will treat it as three separate

interrogatories for purposes of any limitations on the number of interrogatories set forth at

Fed. R. Civ. P 33(a)(1) or in any other discovery order entered by the Court.

       Without waiver to those objections, Plaintiff states as follows: As set forth in his

response to Interrogatory No. 1, Plaintiff communicated the conditions upon his gifts




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totaling $2.5 million explicitly during telephone conversations with Defendant Engelbrecht

(on behalf of Defendant True the Vote) on November 4, 5, and 13, 2020. Ms. Engelbrecht

affirmatively acknowledged those conversations and her understanding that Plaintiff’s gifts

totaling $2.5 million were to be used expressly for the purposes of Defendants’ efforts to

investigate, litigate, and publicize illegal balloting and other election fraud in connection

with the 2020 general election. For example, Defendant Engelbrecht assured Plaintiff’s

counsel that True the Vote had “spent the money on the project we discussed with Mr.

Eshelman” (emphasis added). See Amended Compl. and Ex. 5 attached thereto.




                                    Exhibit 1, page 8
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     Plaintiff’s Responses and Objections to Defendant’s Expedited Request for
                              Production of Documents
Request No. 1

       Produce any and all documents that support or relate to Interrogatory Nos. 1-3,

including emails, text messages, voice or video recordings, and any other written or

electronic communications related to any of the interrogatories.

Response:

       Plaintiff objects to this document request as overbroad, unduly burdensome, vague,

and ambiguous to the extent that it seeks “any and all documents” and relies on the phrase

“related to,” which is not defined. Without waiving the foregoing objections, Plaintiff states

that his responses to Interrogatories 1-3 are supported by the verified pleadings and

attached exhibits already filed and served upon Defendant True the Vote in this matter. In

addition to those materials, Plaintiff hereby produces documents enclosed with this

response. By producing these documents, Plaintiff does not concede the relevance,

materiality, or admissibility of the produced materials.




                                    Exhibit 1, page 9
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                           Exhibit 1, page 10
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                        Exhibit 2
                           to
     Declaration of Defendant Catherine Engelbrecht

   “Eshelman’s Gift to TTV’s Whistleblower Project”
Mission - Protecting US Election Integrity | True the Vote                             https://truethevote.org/mission/
                     Case 4:20-cv-04034 Document 48-1 Filed on 01/21/21 in TXSD Page 28 of 129




                                                             Exhibit 2, page 1
3 of 4                                                                                            1/19/2021, 2:36 PM
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                                                   National Election IntegrityFiled   on 01/21/21
                                                                              Hotline After Project Veritasin  TXSD
                                                                                                            Videos        Page 29
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                                                                                                                                    Voter 129Scheme in Texa…


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       TRUE THE VOTE ENCOURAGES CITIZENS TO USE
       NATIONAL ELECTION INTEGRITY HOTLINE AFTER
        PROJECT VERITAS VIDEOS EXPOSE ORGANIZED
             VOTER FRAUD SCHEME IN TEXAS
                                                  By True the Vote                      October 28, 2020




True the Vote Encourages Citizens to Use National Election Integrity Hotline
After Project Veritas Videos Expose Organized Voter Fraud Scheme in Texas


HOUSTON, Texas –                                                                                                 >



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https://truethevote.org/true-the-vote-encourages-citizens-to-use-national-election-integrity-hotline-after-project-veritas-videos-expose-organized-voter-fraud-sc…   1/4
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                                                                   True the Vote in TXSD Page 31 of 129




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ELECTION INTEGRITY HOTLINE
REPORT POTENTIAL FRAUD OR MANIPULATION




        We must all take part in ensuring the 2020 election returns reflect the
                                                 principle of “One vote for one voter.”




First Name *



https://truethevote.org/report-election-fraud/
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Document Upload


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TIF, JPG, GIF, PNG, PDF only allowed.




   By submitting your contact information, you may receive occasional digital or SMS communications from
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                        Exhibit 3
                           to
     Declaration of Defendant Catherine Engelbrecht

                “TTV’s Validate the Vote Plan”
 Case 4:20-cv-04034 Document 48-1 Filed on 01/21/21 in TXSD Page 40 of 129




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                                               Exhibit 3, page 5                              Eshelman 00026
1/19/2021   Case 4:20-cv-04034 Document 48-1 Filed on 01/21/21 in TXSD Page 45 of 129
  From: Catherine Engelbrecht <catherine@truethevote.org>
  Date: Thu, Nov 5, 2020 at 8:52 AM
  Subject: Re: voter fraud and a legal challenge
  To: James Bopp Jr <jboppjr@aol.com>
  CC: <cathopengelbrecht@gmail.com>



  I just saw this. I am on a call right now and will try to end quickly then call you.

  I am all in. Will call ASAP.


  On Thu, Nov 5, 2020 at 6:36 AM James Bopp Jr <jboppjr@aol.com> wrote:
   Call me asap. I have been contacted by a friend with access to substantial funding regarding an
   idea about law suits re voter fraud. You might be central to that. I would like to discuss. Jim

  --
  Catherine Engelbrecht
  Founder, True the Vote




                                                 Exhibit 3, page 6                                   1/1
1/19/2021   Case 4:20-cv-04034 Document 48-1 Filed on 01/21/21 in TXSD Page 46 of 129




  From: James Bopp Jr <jboppjr@aol.com>
  Sent: Thursday, November 5, 2020 3:37 PM
  To: Karl Gallant <kgallant@aduston.com>
  Cc: catherine@truethevote.org
  Subject: TTV One Voter One Vote Litigation Project




  True the Vote One Voter One Vote Litigation Project

   Goal

    To ensure that the 2020 election returns reflect one vote cast by one eligible voter
  and thereby protect the right to vote and the integrity of the election.

  Problem

     There is significant evidence that there are numerous instances of illegal ballots
  being cast and counted in the 2020 general election. Most of these illegal votes are
  being counted in Democrat counties and are overturning the legitimate results of the
  election.

      This is a result of Democrat officials refusing to obey state election laws and counting
  illegal votes. It is also the result of deliberate voter fraud. This situation has been aided
  by the Democrat's deliberate effort to radically expand mail in balloting, creating
  numerous opportunities for voter fraud that does not exist with in person voting.

     Furthermore, this flood of illegal votes violates the U.S. Constitution's right to vote by
  diluting the votes of legitimate voters with illegal votes.

  Plan

     The Plan is to bring federal law suit in the seven closest battleground states to
  investigate voter fraud, expose it, and to nullify the results of the state's election, so that
  the Presidential Electors can be selected in a special election or by the state
  legislature.

     Plan step 1: A federal civil rights lawsuit will be filed in each targeted state. This will
  provide the vehicle to serve subpoena's on state election officials to produce critical
  election data, such as the poll list.

     Plan Step 2: Along with publicly available data, the produced election data will be
  analyzed by True the Vote's groundbreaking computer programs that have the capacity
  to identify both illegal voters and illegal votes.
                                          Exhibit 3, page 7                              1/3
1/19/2021      Case 4:20-cv-04034 Document 48-1 Filed on 01/21/21 in TXSD Page 47 of 129
     Plan Step 3: If substantial election fraud is proven that makes the results of the
  election doubtful, the law suit will seek to have the state's election results overturned,
  leading to a special election, to selection of Presidential Elector by the state legislature,
  or to the selection of the President by the U.S. House of Representatives.

  Budget

      The Plan anticipates seven lawsuits in seven battleground states.

      Discovery of critical election data and Analysis of seven state's election results.

            $250,000 per state                                       $1,750,000

      Litigation expense in five states

            District Court, $500,000 per case                        $2,500,000

            Court of Appeals, $75,000 per case                        $375,000

            U.S. Supreme Court appeals, two at $350,000 per case $700,000

      Total Budget                                                  $5,325,000

  Funding Vehicle

      The James Madison Center for Free Speech is the funding vehicle for the project.
  The Madison Center is a 501(c)(3) non profit organization, jamesmadisoncenter.org.
  Contributions to the Madison Center are confidential and tax deductible. 100% of the
  donor's earmarked contributions will be used to pay the investigation, evaluation and
  litigation expenses for the Project. Donors should earmark their contributions to the
  TTV One Voter One Vote Litigation Project.

  Wire transfer information

  Funds should be wired to:

  JP Morgan Chase, N.A.

  111 Monument Circle, Suite 8401

  Indianapolis, IN 46277

  ABA #



  Swift Code (International only)


                               Confidential
                                      Exhibit 3, page 8                                           2/3
1/19/2021   Case 4:20-cv-04034 Document 48-1 Filed on 01/21/21 in TXSD Page 48 of 129


  To benefit:

  Terre Haute Savings Bank

  Account #



  For final credit to:

  James Madison Center for Free Speech

  Account #



  *** Please emphasize that both the “benefit THSB” step including our
  correspondent account number and the “for final credit to” step listing our THSB
  customer’s name and account number must be completed otherwise the wire will
  reach JP Morgan Chase and they will not recognize our customer’s name and
  account number on their system and the wire will be returned.


  James Bopp, Jr.

  General Counsel

  True the Vote, Inc.

  Attorney

  The Bopp Law Firm, PC | www.bopplaw.com

  The National Building | 1 South 6th Street | Terre Haute, IN 47807

  voice: (812) 232-2434 ext. 22 | fax: (812) 235-3685 | cell: (812) 243-0825 |
  jboppjr@aol.com


  Sent from AOL Desktop


             Confidential


                                       Exhibit 3, page 9                                3/3
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                        Exhibit 4
                           to
     Declaration of Defendant Catherine Engelbrecht

  “Validate the Vote Project Progress and Approval by
       Eshelman, and the Second Eshelman Gift”
 Case 4:20-cv-04034 Document 48-1 Filed on 01/21/21 in TXSD Page 62 of 129




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                                             Exhibit 4, page 7                                       Eshelman 00144
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Case 4:20-cv-04034 Document 48-1 Filed on 01/21/21 in TXSD Page 70 of 129


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Case 4:20-cv-04034 Document 48-1 Filed on 01/21/21 in TXSD Page 71 of 129




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Case 4:20-cv-04034 Document 48-1 Filed on 01/21/21 in TXSD Page 72 of 129




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                                         Exhibit 4, page 11                                  Eshelman 00131
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                        Exhibit 5
                           to
     Declaration of Defendant Catherine Engelbrecht

 “The Demand for Payment of Old Town Digital Agency
           LLC’s Million-Dollar Invoice”
Case 4:20-cv-04034 Document 48-1 Filed on 01/21/21 in TXSD Page 74 of 129




                           iMessage with +1 (202) 549-2315
                                  11/5/20, 10:28 AM

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 Validate the Vote
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 Let me know what you think.
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                                   11/5/20, 4:50 PM

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                                 Exhibit 5, page 1
 Case 4:20-cv-04034 Document 48-1 Filed on 01/21/21 in TXSD Page 75 of 129




From: Catherine Engelbrecht <catherine@truethevote.org>
Date: Tuesday, November 17, 2020
Subject: Fwd: Invoice 11032020-98753 from Old Town Digital Agency LLC
To: Jim Bopp <jboppjr@aol.com>



---------- Forwarded message ---------
From: Old Town Digital Agency LLC <quickbooks@notification.intuit.com>
Date: Fri, Nov 13, 2020 at 9:42 AM
Subject: Invoice 11032020-98753 from Old Town Digital Agency LLC
To: <catherine@truethevote.org>


                                INVOICE 11032020-98753 DETAILS



                            Old Town Digital Agency LLC




                                      DUE 11/13/2020


                         $1,000,000.00
                                        Print or save
                                    Powered by QuickBooks



  Dear Catherine Engelbrecht,

  Here's your invoice! We appreciate your prompt payment.

  Have a great day,
  Old Town Digital Agency LLC



     Bill to         True The Vote
                     ATTN:Catherine Engelbrecht


                                   Exhibit 5, page 2
 Case 4:20-cv-04034 Document 48-1 Filed on 01/21/21 in TXSD Page 76 of 129




        Terms                               Due on receipt




        Services                                                                      $1,000,000.00

        Digital Media Creation and Distribution
        Communication Team and Support Staff
        Strategic Consulting Partners



        1 X $1,000,000.00




                                                                     Balance due         $1,000,000.00




                                                   Print or save



                                           Old Town Digital Agency LLC

                          201 North Union St. Suite 110 #11181 Alexandria, VA 22314 US

        cindy@oldtowndigitalagency.com




If you receive an email that seems fraudulent, please check with the business owner before paying.




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--
     Catherine Engelbrecht
Founder, True the Vote


                                             Exhibit 5, page 3
         Case 4:20-cv-04034 Document 48-1 Filed on 01/21/21 in TXSD Page 77 of 129



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                                                      Exhibit 5, page 9   Eshelman 00260
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From:         Catherine Engelbrecht
To:           Jim Bopp; Melena Siebert
Subject:      Fwd: Invoice cancellation
Date:         Monday, November 23, 2020 10:16:09 AM




---------- Forwarded message ---------
From: Dymailbox <dymailbox@gmail.com>
Date: Mon, Nov 23, 2020 at 7:42 AM
Subject: Invoice cancellation
To: Catherine <catherine@truethevote.org>, Gregg Phillips <gp@opsec.group>,
Tom Crawford <tomcrawforddc@gmail.com>


Hey Catherine,

Since the time for any communications effort is over, and since you have never asked
me to perform any of the services we had discussed, I am cancelling the invoice for
$1 million from Old Town Digital.

Thanks,

— Dikran

--
  Catherine Engelbrecht
Founder, True the Vote




                                      Exhibit 5, page 10
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                             OLD TOWN DIGITAL AGENCY, LLC
                                  201 N. Union Street, Suite 110
                                   Alexandtia, Virginia 22314


December 5, 2020


Ms. Catherine Engelbrecht, President
Tme The Vote
P.O. Box 3109
Houston, Texas 77253-3109


Dear Catherine,


I've heard about the unfortunate developing disagreement between True The Vote and its donor
and want you both to know that, although my role in the planned project has ended I will be happy
to be of service in any way that I can to help resolve it amicably. I know that we aTe all on the
same side in wanting what's best for the countty, and I'm sure that y'all can fmd an appropriate
path fotward.


To that end, and because I understand that there was some confusion regarding an invoice from
Old Town Digital Agency LLC (the company that I'm involved with in these matters), I wanted
to clarify what that was about.


Old Town and I had, during the campaign, done some work that the donor had supported to
increase voter participation in several battleground states. Because he was familiar with us, after
Election Day, he asked us what might be done to help ensure an accurate vote cmmt. Knowing of
TTY's experience and interest in such matters, we suggested that TTV might be an approptiate
contractor to handle what became the Validate The Vote whistleblower campaign and related legal
battles. That was when I contacted you and TTV by email about November 5.


That contact then led to my trip to Austin on November 11, where you and I met with Gregg and
the rest of the team. As Mr. Bopp noted and we all agreed at that meeting and subsequently, the
traditional media would not publicize your fraud fmdings; so getting the tmth out would require
paid media. For that, the project was going to require experienced PR horsepower.


I believe you said at that meeting that our (my and Old Town's) attendance and involvement were
providential because TTV didn't have a full power communications team in place. For that, I/Old
Town over the next several days, put together a top-notch team that included Bob Heckman (as a
conduit to Senate Judiciaty), Gentty Collins and his team (to handle media booking, press releases,
etc.), and Gaty Maloney (to help vet our media stories before launch).


No one in this assemblage was ever contracted in TTY's name. Rather, their contracts were with
Old Town; and they have all been paid directly by Old Town. The cost to lock in that team for 60




                                     Exhibit 5, page 11
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Ms. Catherine Engelbrecht
December 5, 2020
Page2


days ammmts to roughly $95,000 plus expenses. Old Town paid them for the first 30 days, and
has since wound the team down as it appeared additional involvement would not be needed.


Also during that start-up phase, we contacted Campaign Solutions to get your small dollar
fundraising mlllling after you told me your previous vendor didn't work out.           After working
through the logistics, we realized that TTV was not registered to raise money across the cmmtly;
so we had to pull the plug on that effmt.


We also conducted an on-line survey to detemline how the voting public felt about the validity of
the election and whether or not they thought a vigorous investigation was needed to give credibility
to the eventual declaration of a victor.


Following this, we wanted to strut rolling out a few cases of voter fraud a day (fi·om your hotline)
on the Validate the Vote site. From our meeting in Austin, it appeared that this was the easiest way
to populate the site. But those cases did not ever materialize- at least, not yet.


In the end, all the players except for Mr. Maloney ended up actively working to support the project.
Mr. Collins's team spoke with Mr. Bopp, who briefed them on the legal piece; and they began
pushing TV bookings for him. They also attempted to work with Cat to pull together daily
briefmgs. Bob Heckman spoke with you and with Mr. Bopp for complete background and updates
so that he could share fmdings with Senate Judiciruy in real time as hru·d evidence was identified.


Aside fi·om my personal time and u·avel, Old Town put together and conducted the survey,
coordinated getting the consultants into place, and was ready to launch a national media campaign
immediately upon notice to do so. To be sure, we were all moving as fast as possible because of
the deadline in fi·ont of us. I was not asked for a. written plan, and I did not put together one on my
own because I didn't know what we were adve1tising.


About November 13, for all of those services and expenses, some already provided or incuned and
others to be provided or incuned over the life of the project, Old Town sent you its invoice
11032020-98753 in the amount of $1 million, which I had understood fi·om our meeting in Austin
was the amount allocated to the various tasks and consultants described above. In hindsight, a more
detailed invoice may have been preferable; but as noted eve1ything was necessarily moving at the
speed of light. Chalk that shortcoming up to Friday the Thiiteenth.


To be clear, the invoice was to pay for the $95,000 for the PR/communica.tions team we engaged
to suppott your effmts. The remaining $900,000 was for an initial media spend. We estimated,
however, that the full-te1m cost of a media. campaign to suppott your project would be several
million dollars more than that.


Of course, we would never launch a media campaign without your p1ior approval. That process
would have involved a written plan (if you requested one), and a joint (you and us) work-through




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Ms. Catherine Engelbrecht
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of the details in a plan that would have included the initial breakdown on anticipated media spends.
However, at the time that the project began to deteriorate, I still didn't have any facts to publicize
arotmd which a plan could be drafted.


When I sent the invoice on November 13, you told me that it was too late on Friday to authorize a
wire that size over the phone, but that you would t:Iy to get it authmized on Saturday; and when
we spoke on Saturday, you said that you would go to the bank then to authorize a transfer for first
thing on Monday. As things developed, the wire was not sent; and the invoice was never paid.
Because of the project being largely aborted, and in order to help conserve resources for whatever
might be done to help with the election battles, Old Town has rescinded the invoice and is not
seeking payment for the expenses that it incuned or for the services that it provided during the
course of its involvement. As I noted when you followed up later saying you couldn't pay the
invoice because of concems about 50l(c)(3) donor relations, my solution was and remains to just
retum the money to the donor.


I still think the idea of a combination of whistleblowers and a demonstration of statistically
impossible voting pattems is the best path forward for both the cunent presidential election and
for pushing campaign refmms in the future. And I still think TTV is an appropriate vehicle to make
those needed reforms happen. As late as the weekend before Thanksgiving, I was texting with
Gregg Phillips and hopeful that we would have something concrete to launch with.


Please let me know if there is anything I can do to help clear up this situation so everyone can get
back to the important task at hand of ensuring ballot and election-outcome integrity.


Sincerely,




Dikran Yacoubian


Copy to: Fredric N. Eshelman




                                      Exhibit 5, page 13
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                        Exhibit 6
                           to
     Declaration of Defendant Catherine Engelbrecht

    Documentation on Old Town Digital Agency LLC
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                                                                              Exhibit 6, page6
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Case 4:20-cv-04034 Document 48-1 Filed on 01/21/21 in TXSD Page 94 of 129




                            Exhibit 6, page7
Case 4:20-cv-04034 Document 48-1 Filed on 01/21/21 in TXSD Page 95 of 129




                            Exhibit 6, page8
             Case 4:20-cv-04034 Document 48-1 Filed on 01/21/21 in TXSD Page 96 of 129
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                                                                Exhibit 6, page9
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Expenditures by Our American Century, 2020 | OpenSecrets              https://www.opensecrets.org/outsidespending/expenditures.php?cmte=C...
                   Case 4:20-cv-04034 Document 48-1 Filed on 01/21/21 in TXSD Page 97 of 129




                   Election cycle:




                              Sector                          Description                          Total
                                                                                                Expenditures
                     Administrative               Accountants, compliance & legal            $18,063
                                                  services
                                                  Miscellaneous administrative               $500
                     Media                        Web ads                                    $5,500,000
                     Strategy &                   Campaign data & technology                 $907,000
                     Research
                                                  Polling & surveys                          $604,000
                                                  Campaign strategy &                        $108,000
                                                  communications consulting




                     Rank               Vendor/Recipient                   Total Expenditures
                     1         OLD TOWN DIGITAL AGENCY LLC $5,500,000
                     2         Trafalgar Group                             $1,001,000
                     3         Ckmp Digital                                $500,000

                                                           Exhibit 6, page10
1 of 2
Expenditures by Our American Century, 2020 | OpenSecrets             https://www.opensecrets.org/outsidespending/expenditures.php?cmte=C...
                   Case 4:20-cv-04034 Document 48-1 Filed on 01/21/21 in TXSD Page 98 of 129

                     Rank                Vendor/Recipient                 Total Expenditures
                     4         Lagniappe Communications                   $108,000
                     5         Compliance Consulting LLC                  $13,063
                     6         Jackson-Alvarez                            $10,000
                     7         Compliance Consulting                      $5,000
                     8         Chain Bridge Bank, N A                     $500

                   Based on data released by the FEC on December 04, 2020.

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                   textbooks, contact the Center: info@crp.org




                                                           Exhibit 6, page11
2 of 2
          Case 4:20-cv-04034 Document 48-1 Filed on 01/21/21 in TXSD Page 99 of 129

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                        BEFORE THE FEDERAL ELECTION COMMISSION


      CAMPAIGN LEGAL CENTER
      1101 14th Street NW, Suite 400
      Washington, DC 20005
      (202) 736-2200

      MARGARET CHRIST
      1101 14th Street NW, Suite 400
      Washington, DC 20005
      (202) 736-2200

             v.                                          MUR No. ________

      OUR AMERICAN CENTURY
      Cabell Hobbs, Treasurer
      P.O. Box 365
      McLean, VA 22101



                                                COMPLAINT

1.       This complaint is filed pursuant to 52 U.S.C. § 30109(a)(1) and is based on information and

          belief that the super PAC Our American Century (ID: C00532630) has violated the Federal

          Election Campaign Act (“FECA”), 52 U.S.C. § 30101, et seq., by making illegal, unreported,

          and excessive in-kind contributions to candidate Donald Trump’s campaign committee,

          Donald J. Trump for President, Inc.

2.       According to Google’s archive of political ads, Our American Century spent between $5,100

          and $251,000 to distribute one of the Trump campaign’s own video ads to voters in

          Michigan, Arizona, Pennsylvania, and Ohio. The super PAC republished the Trump

          campaign’s ad in its entirety; the ad even included the Trump campaign’s original “paid for

          by” disclaimer.




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                                           Exhibit 6, page12
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3.        By paying to republish and distribute the Trump campaign’s advertisement, Our American

           Century made in-kind contributions to the Trump campaign, 52 U.S.C. § 30116(a)(7)(b)(iii);

           11 C.F.R. § 109.23(a), and therefore violated 52 U.S.C. § 30116(a) because those

           contributions exceeded federal limits, and violated 52 U.S.C. § 30104(b) because the

           contributions were not reported. As a super PAC, Our American Century could only raise

           and spend unlimited funds if it did not contribute to candidates; however, because it made

           candidate contributions, Our American Century was not entitled to raise funds in unlimited

           amounts, and therefore it violated 52 U.S.C. § 30116(a)(1)(C) and 11 C.F.R. § 110.9 by

           accepting over $7.5 million in contributions that exceeded FECA’s limits. Our American

           Century additionally violated 52 U.S.C. § 30120(a) by failing to include a disclaimer stating

           that it paid to distribute the advertisements.

4.        Publicly available records show that Our American Century spent between $5,100 and

           $251,000 unlawfully republishing Trump campaign ads on the Google network, but the total

           amount in violation could be far higher. Of the $5.5 million that Our American Century spent

           on digital independent expenditures in 2020, only $259,800 appeared in the Google archive,

           and a smaller amount was spent on Facebook; the super PAC’s digital advertisements run on

           other platforms are not publicly available.

5.        “If the Commission, upon receiving a complaint . . . has reason to believe that a person has

           committed, or is about to commit, a violation of [FECA] . . . [t]he Commission shall make an

           investigation of such alleged violation . . . .” 52 U.S.C. § 30109(a)(2) (emphasis added); see

           also 11 C.F.R. § 111.4(a).

6.        Campaign Legal Center (“CLC”) is a nonpartisan, nonprofit 501(c)(3) organization whose

           mission is to protect and strengthen the U.S. democratic process through litigation and other


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                                              Exhibit 6, page13
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             legal advocacy. CLC relies on the accurate and complete reporting of campaign finance

             information to carry out activities central to its mission, including research, analysis, and

             reporting about campaign spending and the true sources and scope of candidates’ financial

             support. CLC participates in judicial and administrative matters throughout the nation

             regarding campaign finance, voting rights, redistricting, and government ethics issues.

                                                                           FACTS

7.          Our American Century is an independent expenditure-only political action committee (i.e., a

             “super PAC”), originally formed in 2012 under the name “Geaux PAC.”1 It stated to the

             Commission upon its formation that it “intends to raise funds in unlimited amounts from

             individuals and corporations,” but “will not use those funds to make contributions, whether

             direct, in-kind, or via coordinated communications, to federal candidates or committees.”2

8.          In the 2020 election cycle, Our American Century raised over $7.55 million, $7 million of

             which came from one individual, and $500,000 of which came from another individual.3 It

             reported $5.5 million in independent expenditures.4 All of Our American Century’s

             independent expenditures supported presidential candidate Donald J. Trump or opposed

             presidential candidate Joseph Biden, and each independent expenditure was reported to the




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      1
                Geaux PAC, Statement of Organization, FEC Form 1 (filed Oct. 11, 2012),
      https://docquery.fec.gov/pdf/172/12030913172/12030913172.pdf; Our American Century, Statement of
      Organization, FEC Form 1 at 1 (amended Feb. 15, 2017),
      https://docquery.fec.gov/pdf/496/201702159049699496/201702159049699496.pdf (amending statement of
      organization to change committee’s name, address, email address, and website).
      2
                Letter from Geaux PAC to FEC (Oct. 11, 2012),
      https://docquery.fec.gov/pdf/172/12030913172/12030913172.pdf.
      3
                Our American Century, Receipts, 2019-20, FEC.GOV,
      https://www.fec.gov/data/receipts/?two_year_transaction_period=2020&committee_id=C00532630&data_type=pro
      cessed (showing Fredric Eshelman giving one $5 million contribution and two $1 million contributions, and
      Timothy Dunn giving $500,000) (last visited Dec. 16, 2020).
      4
                Our American Century, 2020 Post General Report, FEC Form 3X at 3-4 (filed Dec. 3, 2020),
      https://docquery.fec.gov/pdf/475/202012039338271475/202012039338271475.pdf.

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                                                                      Exhibit 6, page14
          Case 4:20-cv-04034 Document 48-1 Filed on 01/21/21 in TXSD Page 102 of 129

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             Commission as “digital media.”5 The super PAC did not disclose contributions to any

             candidate’s campaign committee.6

9.          According to Google’s political ad archive, between October 8, 2020 and November 3, 2020,

             Our American Century spent $259,800 on ads run on Google platforms such as YouTube.7

             At least six of those purchases republished a video ad originally created by Donald J.

             Trump’s campaign committee titled “As per your request, Joe,” and available on Trump’s

             YouTube page.8 The ad purchases were as follows:

                            a) Between October 23, 2020 and October 30, 2020, Our American Century spent

                                   between $1,000 and $50,000 to distribute “As per your request, Joe” to voters in

                                   Michigan;9

                            b) Between October 23, 2020 and October 30, 2020, Our American Century spent

                                   between $1,000 and $50,000 to distribute “As per your request, Joe” to voters in

                                   Ohio;10



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      5
                Our American Century, Independent Expenditures (24- and 48-hour reports), 2019-20, FEC.GOV,
      https://www.fec.gov/data/independent-
      expenditures/?data_type=processed&committee_id=C00532630&is_notice=true&most_recent=true&min_date=01
      %2F01%2F2019&max_date=12%2F31%2F2020 (last visited Dec. 16, 2020); Our American Century, Independent
      Expenditures (regularly scheduled reports), 2019-20, FEC.GOV, https://www.fec.gov/data/independent-
      expenditures/?data_type=processed&committee_id=C00532630&is_notice=false&most_recent=true&min_date=01
      %2F01%2F2019&max_date=12%2F31%2F2020 (last visited Dec. 16, 2020).
      6
                Our American Century, Disbursements, 2019-20, FEC.GOV,
      https://www.fec.gov/data/disbursements/?committee_id=C00532630&two_year_transaction_period=2020&data_typ
      e=processed (showing no contributions to other committees) (last visited Dec. 16, 2020).
      7
                Our American Century, Google Transparency Report, GOOGLE
      https://transparencyreport.google.com/political-ads/advertiser/AR309697722208747520 (last visited Dec. 11, 2020).
      8
                Donald J. Trump, “As Per Your Request, Joe…,” YOUTUBE (Oct. 22, 2020),
      https://www.youtube.com/watch?v=NnrEh9_5_9I.
      9
                Our American Century, “As Per Your Request, Joe…,” (disseminated in Michigan Oct. 23, 2020 – Oct. 30,
      2020), Google Transparency Report, GOOGLE, https://transparencyreport.google.com/political-
      ads/advertiser/AR309697722208747520/creative/CR502843432302018560.
      10
                Our American Century, “As Per Your Request, Joe…,” (disseminated in Ohio Oct. 23, 2020 – Oct. 30,
      2020), Google Transparency Report, GOOGLE, https://transparencyreport.google.com/political-
      ads/advertiser/AR309697722208747520/creative/CR330228902834208768.

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                                                                      Exhibit 6, page15
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                                                                                                                    
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                         c) Between October 23, 2020 and October 30, 2020, Our American Century spent

                                between $1,000 and $50,000 to distribute “As per your request, Joe” to voters in

                                Pennsylvania;11

                         d) Between October 23, 2020 and October 30, 2020, Our American Century spent

                                between $1,100 and $51,000 on two ad buys to distribute “As per your request,

                                Joe” to voters in Arizona;12 and

                         e) Between October 26, 2020 and October 30, 2020, Our American Century spent an

                                additional $1,000 to $50,000 to distribute “As per your request, Joe” to voters in

                                Arizona.13

10.      The disclaimer at the end of each video ad stated “paid for by Donald J. Trump for President,

          Inc.,” yet the Google archive shows that Our American Century paid to disseminate the

          communications.

                                                                   SUMMARY OF THE LAW

11.      In the 2020 cycle, the statutory limit on the amount a federal candidate or his authorized

          campaign committee may accept from an individual donor is $2,800 per election. 52 U.S.C

          § 30116(a)(1). Contributions from a multicandidate committee to a candidate or authorized

          committee may not exceed $5,000 per calendar year. 52 U.S.C. § 30116(a)(2)(A).

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   11
           Our American Century, “As Per Your Request, Joe…,” (disseminated in Pennsylvania Oct. 23, 2020 – Oct.
   30, 2020), Google Transparency Report, GOOGLE, https://transparencyreport.google.com/political-
   ads/advertiser/AR309697722208747520/creative/CR45376226403024896.
   12
           Our American Century, “As Per Your Request, Joe…,” (disseminated in Arizona Oct. 23, 2020 – Oct. 30,
   2020), Google Transparency Report, GOOGLE, https://transparencyreport.google.com/political-
   ads/advertiser/AR309697722208747520/creative/CR357180131854254080 (“Amount spent $1k-$50k”); Our
   American Century, “As Per Your Request, Joe…,” (disseminated in Arizona Oct. 23, 2020 – Oct. 30, 2020), Google
   Transparency Report, GOOGLE, https://transparencyreport.google.com/political-
   ads/advertiser/AR309697722208747520/creative/CR498269463930470400 (“Amount spent $100-$1k”).
   13
           Our American Century, “As Per Your Request, Joe…,” (disseminated in Arizona Oct. 26, 2020 – Oct. 30,
   2020), Google Transparency Report, GOOGLE, https://transparencyreport.google.com/political-
   ads/advertiser/AR309697722208747520/creative/CR371102148085153792.

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                                                                     Exhibit 6, page16
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12.    A “contribution” includes “any gift, subscription, loan, advance, or deposit of money or

        anything of value made by any person for the purpose of influencing any election for Federal

        office.” 52 U.S.C. § 30101(8)(A)(i); see also 11 C.F.R. §§ 100.52(a), 114.1(a)(1). “Anything

        of value” includes all in-kind contributions. 11 C.F.R. § 100.52(d)(1).

13.    FECA provides that “the financing by any person of the dissemination, distribution, or

        republication, in whole or in part, of any broadcast or any written, graphic, or other form of

        campaign materials prepared by the candidate, his campaign committees, or their authorized

        agents shall be considered an expenditure.” 52 U.S.C. § 30116(a)(7)(B)(iii). Commission

        regulations further provide that the republication of campaign materials “prepared by the

        candidate, the candidate's authorized committee, or an agent of the foregoing” is a

        contribution for purposes of contribution limitations and reporting responsibilities of the

        person making the expenditure. 11 C.F.R. § 109.23(a). The candidate who prepared the

        materials is not considered to have received an in-kind contribution and is not required to

        report an expenditure, unless the republication is a coordinated communication under 11

        C.F.R. §§ 109.21 or 109.37. Id.

14.    The Commission explained this rule as follows:

               [W]hether or not the dissemination, distribution, or republication qualifies as a
               coordinated communication under 11 CFR 109.21, paragraph (a) of section
               109.23, like former section 109.1(d)(1), requires the person financing such
               dissemination, distribution, or republication always to treat that financing, for
               the purposes of that person’s contribution limits and reporting requirements,
               as an in-kind contribution made to the candidate who initially prepared the
               campaign material. In other words, the person financing the communication
               must report the payment for that communication if that person is a political
               committee or is otherwise required to report contributions. Furthermore, that
               person must count the amount of the payment towards that person’s
               contribution limits with respect to that candidate under 11 CFR 110.1 (persons
               other than political committees) or 11 CFR 110.2 (multicandidate political
               committees) . . .


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                                          Exhibit 6, page17
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                 Coordinated and Independent Expenditures, Final Rules & Explanation & Justification,

                 68 Fed. Reg. 421, 442 (Jan. 3, 2003) (emphasis added).

15.      The Commission has previously found reason to believe that a super PAC violated the

          contribution limits at 52 U.S.C. § 30116(a) and reporting requirements at 52 U.S.C. §

          30104(b) by republishing substantial portions of a candidate’s campaign advertisement, and

          entered into a conciliation agreement. MUR 6535 (Restore Our Future), Conciliation

          Agreement at 1-4;14 see also MUR 6535 (Restore Our Future), Factual and Legal Analysis at

          1-7.15

16.      A nonconnected political committee may only accept contributions of up to $5,000 in a

          calendar year, 52 U.S.C. § 30116(a)(1)(C), and shall not knowingly accept any contribution

          in excess of FECA’s limits, 11 C.F.R. § 110.9. However, a nonconnected committee may

          raise funds in unlimited amounts if it does not use those funds to make direct or in-kind

          contributions to federal candidates or committees. Advisory Opinion 2010-11 at 2-3

          (Commonsense Ten) (July 22, 2010); see also SpeechNow.org v. FEC, 599 F.3d 686, 689

          (D.C. Cir. 2010) (en banc).

17.      All public communications that expressly advocate the election of a clearly identified federal

          candidate must include a disclaimer identifying who paid for the communication, and

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             Available at Notification with Factual and Legal Analysis to Campaign Legal Center from FEC at 2-5,
   MUR 6535 (Nov. 19, 2015) https://www.fec.gov/files/legal/murs/6535/15044382273.pdf.
   15
             Available at id. at 6-12. In that case, the super PAC republished an advertisement created five years earlier,
   by the candidate’s campaign in a previous election cycle; the Commission acknowledged that MUR 6535 was a
   “case of first impression,” since the agency had “not previously considered whether the phrase ‘campaign materials
   prepared by the candidate [or] his campaign committees’ is limited to campaign materials prepared during the same
   election cycle in which a third party republishes the materials.” MUR 6535 (Restore Our Future), Factual and Legal
   Analysis at 5, 7. The super PAC interpreted the regulation’s use of the term “candidate” to limit its scope to
   candidate materials created within the same election cycle, an interpretation that the Commission acknowledged
   “was not unreasonable.” Id. at 7. Given those “unique circumstances,” the Commission exercised its discretion to
   enter into a pre-probable cause conciliation agreement, and the super PAC agreed to a $50,000 fine. MUR 6535
   (Restore Our Future), Conciliation Agreement at 3. None of those mitigating factors are present here.


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                                                                   Exhibit 6, page18
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          whether the communication was authorized by a candidate. 52 U.S.C. § 30120(a); 11 C.F.R.

          § 110.11. A disclaimer on such a communication that is not paid for or authorized by a

          candidate must “clearly state the full name and permanent street address, telephone number,

          or World Wide Web address of the person who paid for the communication and state that the

          communication is not authorized by any candidate or candidate’s committee.” 52 U.S.C.

          § 30120(a)(3); 11 C.F.R. § 110.11(b)(3). The term “public communication” includes

          “communications placed for a fee on another person’s Web site.” 11 C.F.R. § 100.26. A

          person paying for a digital public communication that expressly advocates the election of a

          clearly identified federal candidate must include all disclaimer information specified by 52

          U.S.C. § 30120(a). Advisory Opinion 2017-12 at 1 (Take Back Action Fund) (Dec. 15,

          2017).

                                                                   CAUSES OF ACTION

                                            COUNT I:
              OUR AMERICAN CENTURY MADE ILLEGAL, EXCESSIVE, AND UNREPORTED IN-KIND
                    CONTRIBUTIONS BY REPUBLISHING TRUMP CAMPAIGN MATERIALS

18.      Our American Century spent between $5,100 and $251,000 on Google financing the

          dissemination, distribution, or republication of a campaign advertisement prepared by the

          Donald J. Trump campaign committee or its agents.16

19.      Republication “of campaign materials prepared by the candidate, his campaign committees,

          or their authorized agents” is a contribution subject to FECA’s limits, prohibitions, and

          reporting requirements. 52 U.S.C. § 30116(a)(7)(b)(iii); 11 C.F.R. § 109.23(a).




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            See sources cited supra ¶ 9. The spending information for each ad in the Google ad library is only provided
   in ranges (e.g., $100-$1,000, $1,000-$50,000) rather than in discrete amounts.

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                                                                   Exhibit 6, page19
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20.      On its reports filed with the Commission, Our American Century did not report any

          contributions to the Trump campaign committee.17

21.      As a result, there is reason to believe that Our American Century violated 52 U.S.C. §

          30116(a) by making excessive in-kind contributions to Donald J. Trump for President, Inc.,

          and additionally violated 52 U.S.C. § 30104(b) by failing to report those excessive

          contributions. Because there is reason to believe, the Commission should investigate the full

          extent of the violation, and examine whether the committee republished Trump

          advertisements on platforms other than Google, since only $259,800 out of the $5.5 million

          that Our American Century spent on digital independent expenditures appeared on Google

          networks.

22.      The Commission has previously found reason to believe that a super PAC violated FECA by

          republishing a candidate’s campaign advertisement, and exercised its discretion to enter into

          a conciliation agreement and levy a relaxed $50,000 fine. MUR 6535 (Restore Our Future),

          Conciliation Agreement at 1-4.18 The Commission should seek more significant penalties in

          this case. The Commission should seek civil penalties commensurate with the severity of the

          violation that are significant enough to deter others from repeating it.

                                                   COUNT II:
                          OUR AMERICAN CENTURY ILLEGALLY ACCEPTED EXCESS CONTRIBUTIONS




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            See sources cited supra ¶ 8.
   18
            The Commission exercised its discretion in MUR 6535 because it involved several mitigating factors not
   present here: it was a “case of first impression” where a super PAC republished substantial portions of a candidate
   advertisement created five years earlier in a previous election cycle, and where the respondent’s regulatory
   interpretation was “not unreasonable.” MUR 6535 (Restore Our Future), Factual and Legal Analysis at 1-7,
   Conciliation Agreement at 1-4. There are no such mitigating factors in this case: the advertisement republished by
   Our American Century was created by Trump’s campaign just weeks before, and Our American Century
   republished the ad in its entirety, with the ad even including the original “paid for by Donald J. Trump for President”
   disclaimer.

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                                                                   Exhibit 6, page20
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23.      A nonconnected political committee may raise funds in unlimited amounts only if it does not

          use those funds to make contributions to federal candidates or committees. Advisory Opinion

          2010-11 at 2-3 (Commonsense Ten); see also SpeechNow.org v. FEC, 599 F.3d 686, 689

          (D.C. Cir. 2010) (en banc). Upon its formation, Our American Century told the Commission

          in a sworn statement that it “intends to raise funds in unlimited amounts from individuals and

          corporations,” but “will not use those funds to make contributions, whether direct, in-kind, or

          via coordinated communications, to federal candidates or committees.”19

24.      In the 2020 cycle, Our American Century raised $7 million from one individual, and

          $500,000 from another individual; as described supra Count I, it then used those funds to

          make contributions to Donald J. Trump for President, Inc.

25.      Because Our American Century made contributions to a candidate’s campaign committee, it

          was not entitled to raise funds in unlimited amounts. As a result, it violated 52 U.S.C.

          § 30116(a)(1)(C) and 11 C.F.R. § 110.9 by accepting contributions in excess of FECA’s

          limits, and additionally violated its sworn statement to the Commission that it would not

          make contributions to a candidate committee.

                                                        COUNT III:
                                  OUR AMERICAN CENTURY VIOLATED DISCLAIMER REQUIREMENTS


26.      Persons paying for digital independent expenditures must include a disclaimer that “clearly

          state[s] the full name and permanent street address, telephone number, or World Wide Web

          address of the person who paid for the communication and state[s] that the communication is

          not authorized by any candidate or candidate’s committee.” 52 U.S.C § 30120(a)(3);

          Advisory Opinion 2017-12 at 1 (Take Back Action Fund) (Dec. 15, 2017).


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   19
                 See sources cited supra ¶7.

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                                                                   Exhibit 6, page21
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                            Exhibit 6, page22
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                           Exhibit 6, page23
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                           Exhibit 6, page24
  Case 4:20-cv-04034 Document 48-1 Filed on 01/21/21 in TXSD Page 112 of 129




                                Declaration of Melena S. Siebert

         I, Melena S. Siebert, make the following declaration pursuant to 28 U.S.C. § 1746:

    1. I am an attorney employed by The Bopp Law Firm, P.C. (“BLF”). I and BLF represent

The Bopp Law Firm and James Bopp, Jr. in the above-captioned case.

    2. On January 11, 2021, I downloaded the “Entity Details” and a copy of the Certificate of

Formation from the State of Delaware Division of Corporations for the Old Town Digital

Agency, LLC. True and correct copies of those documents are included in Exhibit 6 to

Defendants’ Opposition to Plaintiff’s Emergency Application for TRO and Motion for

Preliminary Injunction. On the same day, I searched Google for information on Old Town Digital

Agency, LLC. True and correct copies of the first two result pages are included in Exhibit 6 to

Defendants’ Opposition to Plaintiff’s Emergency Application for TRO and Motion for

Preliminary Injunction.

    3. On January 20, 2021, I looked at and downloaded Dikran Yacoubian’s LinkedIn profile.

True and correct copies of this profile are included in Exhibit 6 to Defendants’ Opposition to

Plaintiff’s Emergency Application for TRO and Motion for Preliminary Injunction.

    4. On January 21, 2021, I looked and downloaded information regarding Our American

Century from OpenSecrets.org, including its expenditures and Eshelman’s donor detail. True and

correct copies of these pages are included in Exhibit 6 to Defendants’ Opposition to Plaintiff’s

Emergency Application for TRO and Motion for Preliminary Injunction.

    5. On January 21, 2021, I looked at and downloaded the complaint filed at the FEC against

Our American Century. A true and correct copy of this complaint is included in Exhibit 6 to

Defendants’ Opposition to Plaintiff’s Emergency Application for TRO and Motion for


Decl. of Melena Siebert



                                      Exhibit 6, page25
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Preliminary Injunction.



    I affirm under penalty of perjury that the foregoing is true and correct. Executed on this 13th

day of January, 2021.

                                                                     /s/ Melena S. Siebert
                                                                     Melena S. Siebert




Decl. of Melena Siebert                         -2-



                                      Exhibit 6, page26
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                         Exhibit 7
                            to
      Declaration of Defendant Catherine Engelbrecht

     “Validate the Vote Project Continues in Georgia”
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    TRUE THE VOTE LASER FOCUSED ON GEORGIA
  BALLOT COUNT; CALLS ON ARMY OF VOLUNTEERS
                       TO ASSIST THE EFFORT
                        By True the Vote     November 10, 2020




True the Vote Laser Focused on Georgia Ballot Count; Calls on Army of
Volunteers to Assist the Effort


HOUSTON, Texas –


                                   Exhibit 7, page 5
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   Dec. 8: “Safe Harbor” – date by which states must certify results and assign electors. If an
                                      Exhibit 7, page 6
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   election is in dispute, state legislatures may assign electors.
   Dec. 14: Electors meet in their states to cast votes for the president and VP.
   Jan. 3: New Congress is sworn in; 117th session starts.
   Jan. 6: Electoral votes are counted in House chamber by members of House and Senate; if
   neither candidate has 270 electoral college votes, the election is in dispute.
   Jan. 20: Inauguration Day – new president takes oath of office. In a disputed election, the
   House will appoint the president and Senate will choose the VP.

                                                               DONATE




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                 TRUE THE VOTE




                                          Exhibit 7, page 7
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    TRUE THE VOTE LAUNCHES GEORGIA ELECTION
     INTEGRITY HOTLINE AS PART OF THE MOST
    COMPREHENSIVE BALLOT SECURITY EFFORT IN
                            GEORGIA HISTORY
                        By True the Vote     December 15, 2020




True the Vote Launches Georgia Election Integrity Hotline as Part of the Most
Comprehensive Ballot Security Effort in Georgia History


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                                   Exhibit 7, page 8
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                                             Exhibit 7, page 9
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                                                       DONATE




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   TRUE THE VOTE PARTNERS WITH GEORGIANS IN
   EVERY COUNTY TO PREEMPTIVELY CHALLENGE
       364,541 POTENTIALLY INELIGIBLE VOTERS
                        By True the Vote     December 18, 2020




True the Vote Partners with Georgians in Every County to Preemptively
Challenge 364,541 Potentially Ineligible Voters


                                                            



                                  Exhibit 7, page 10
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   said Catherine Engelbrecht, the founder and president of
True the Vote. )         +
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               Case 4:20-cv-04034 Document 48-1 Filed on 01/21/21 in TXSD Page 126 of 129
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Engelbrecht concluded.


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                                                          Exhibit 7, page 12
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  TRUE THE VOTE’S ELECTION INTEGRITY EFFORTS
          AFFIRMED BY FEDERAL COURT
                          By True the Vote     January 2, 2021




True the Vote’s Election Integrity Efforts Affirmed by Federal Court


ATLANTA, Georgia –
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                                  Exhibit 7, page 13
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                                                 Exhibit 7, page 14
          Case 4:20-cv-04034 Document 48-1 Filed on 01/21/21 in TXSD Page 129 of 129




            Engelbrecht said.




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                  TRUE THE VOTE
                                     Exhibit 7, page 15
